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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                  SOUTHERN DIVISION
CYNTHIA K. EKEREN,
                                                               5:20-cv-4005
                   Plaintiff,

vs
                                                   COMPLAINT AND REQUEST FOR
MEGAN J. BRENNAN,
                                                         TRIAL BY JURY
POSTMASTER GENERAL, U.S.
POSTAL SERVICE,
            Defendant.


            COMES NOW Plaintiff Cynthia Ekeren and brings this action for sexual

discrimination against the above-named Defendant, Megan J. Brennan, Postmaster

General, U.S. Postal Service ("the USPS") as follows:

                        THE PARTIES, JURISDICTION AND VENUE

        1) This action arises under Title VII of the Civil Rights Act of 1964, as amended, 42

U.S.C. § 2000e et seq. ("Title VII").

        2) Ms. Ekeren is an adult resident of Lincoln County, South Dakota.

        3) Defendant USPS is an agency of the United States government responsible for

providing postal service in the United States.

        4) Ms. Ekeren is an employee of the USPS within the meaning of 42 U.S.C. §

2000e(f).

        5) During her employment with the USPS, Ms. Ekeren has worked at one of its

Sioux Falls, South Dakota worksites.

        6) Ms. Elceren timely filed a Charge of discrimination alleging sexual discrimination

and retaliation.
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